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         Executive Grant of Clemency
TO ALL TO WHOM THESE PRESENTS SHALL COME, GREETING:

        AFTER CONSIDERING THE APPLICATIONS for executive clemency of the
following named persons, I hereby commute the total sentence of imprisonment each of the
following named persons is now serving to expire on December 28, 2016, leaving intact and in
effect for each named person the term of supervised release imposed by the court with all its
conditions and all other components of each respective sentence:

       Michael Alexander                           Reg. No. 19510-058
       Maurice D. Ball                             Reg. No. 19293-045
       Tyrie Bell                                  Reg. No. 10314-424
       Ronald Owen Bilbrey, Jr.                    Reg. No. 18705-018
       Ronald Lee Blount, Jr.                      Reg. No. 79414-079
       Juan Benito Calbo-Gomez                     Reg. No. 55306-079
       Joseph J. Campbell                          Reg. No. 11925-171
       Eugene Carlton                              Reg. No. 52522-019
       Fred Charles, Jr.                           Reg. No. 06999-084
       Merlin Coleman                              Reg. No. 14354-424
       Travis Dwaine Corley                        Reg. No. 99775-071
       Warren Dean Cornett                         Reg. No. 72871-079
       Bobby Richard Cotton, Jr.                   Reg. No. 39998-018
       Aubrey Jermaine Cummings                    Reg. No. 60178-004
       Eddie James Davis                           Reg. No. 30538-160
       William R. Downs                            Reg. No. 33231-018
       Darryl Dewayne Edwards                      Reg. No. 13688-078
       Darryl Ellis                                Reg. No. 09562-002
       Craig William Frazier                       Reg. No. 09182-046
       Jason Gardner                               Reg. No. 46287-080
       Orfil Javier Garza                          Reg. No. 15121-081
       Monroe Herring                              Reg. No. 20372-058
       Emmanuel Herron                             Reg. No. 03347-029
       Marvin K. Holloway                          Reg. No. 22811-016
       Kevin Huff                                  Reg. No. 27360-034
       Isaac Simmons Johnson                       Reg. No. 30315-018
       Samuel Latrell Johnson                      Reg. No. 10097-180
       Walter Johnson                              Reg. No. 22708-018
       James Howard Jones                          Reg. No. 46700-019
       Tony Lamont Jones,                          Reg. No. 50192-083
         aka Tony Rome
       Dirk Ladson                                 Reg. No. 03314-036
       Michael Freeman Lattimore                   Reg. No. 18702-058
       Gary L. Lynch                               Reg. No. 18816-056
       Emmanuel Obi Maduka                         Reg. No. 20038-039
       Rudy Martinez                               Reg. No. 04544-424
       Victor Eugene Mason                         Reg. No. 87817-071
       Rodney R. McCain                            Reg. No. 39106-037
       London Archie McRae                         Reg. No. 23556-057
       Danielle Bernard Metz                       Reg. No. 24803-013
       Hal Q. Mincy                                Reg. No. 53670-060
       Joseph Newton                               Reg. No. 07658-021
       James Clinton Patterson, Jr.                Reg. No. 21016-057
       Darryl Lamar Reed                           Reg. No. 83801-011
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       Tommy Rice                                    Reg. No. 98239-071
       Calvin Dwayne Sangster                        Reg. No. 34301-044
       Martez Lamont Sherrod                         Reg. No. 24860-056
       George E. Smith                               Reg. No. 75268-004
       Lue Gene Swarn                                Reg. No. 12738-078
       Derrick Waller                                Reg. No. 28446-044
       Christopher White                             Reg. No. 33352-037
       Jonathan Carnell Williams                     Reg. No. 35798-037



        I hereby further commute the total sentence of imprisonment each of the following
named persons is now serving to expire on December 28, 2016. I also remit the unpaid balance
of the fine imposed by the court on each respective person. I leave intact and in effect for each
named person the term of supervised release imposed by the court with all its conditions and all
other components of each respective sentence:


       Jose Jasso, Jr.                               Reg. No. 72987-079
       Ricky Lamont Garrett                          Reg. No. 56723-180
       Ali Reno Harden                               Reg. No. 13622-021
       Theodore Johnson                              Reg. No. 10432-424


       I hereby further commute the total sentence of imprisonment each of the following
named persons is now serving to expire on August 30, 2017, leaving intact and in effect for each
named person all other components of the sentence. I also direct the Bureau of Prisons to place
each of the following named persons on one year of pre-release custody:


       Quincy Allen Goins                            Reg. No. 17583-074
       Richard Van Winrow                            Reg. No. 89915-012


        I hereby further commute the total sentence of imprisonment each of the following
named persons is now serving to a term of 180 months' imprisonment, leaving intact and in
effect for each named person the term of supervised release imposed by the court with all its
conditions and all other components of each respective sentence:

       Sly Stallone Aikens                           Reg. No. 11682-171
       Brian Allen Altman                            Reg. No. 12099-084
       Mancer L. Barrington, III                     Reg. No. 57952-083
       Tremayne Kendrick Blackwell                   Reg. No. 20662-058


        I hereby further commute the total sentence of imprisonment each of the following
named persons is now serving to a term of 188 months' imprisonment, leaving intact and in
effect for each named person the term of supervised release imposed by the court with all its
conditions and all other components of each respective sentence:


       Roosevelt Brockington                         Reg. No. 86001-020
       Shannon Cave                                  Reg. No. 52328-054
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        I hereby further commute the total sentence of imprisonment each of the following
named persons is now serving to a term of 240 months' imprisonment, leaving intact and in
effect for each named person the term of supervised release imposed by the court with all its
conditions and all other components of each respective sentence:

       Jerome Lee Borders                            Reg. No. 16627-058
       Walter Breland                                Reg. No. 06774-028
       Eugene Kenneth Brinson                        Reg. No. 39879-083
       Derrick Lewis Bynum,                          Reg. No. 38356-037
         aka Derek Lewis Bynum
       Robert Anthony Eberhart                       Reg. No. 22339-057
       Mark Foster,                                  Reg. No. 39991-018
         aka Marc Foster
       Ricardo Gallardo                              Reg. No. 12501-424
       Mark Lanzilotti                               Reg. No. 00988-748

        I hereby further commute the total sentence of imprisonment each of the following
named persons is now serving to a term of 240 months' imprisonment. I direct the Bureau of
Prisons to place each named person on pre-release custody during the final year of each
respective sentence:

       Henry Deleon                                  Reg. No. 41962-179
       Raul S. Zavala                                Reg. No. 11174-085

        I hereby further commute the total sentence of imprisonment each of the following
named persons is now serving to a term of 262 months' imprisonment, leaving intact and in
effect for each named person the term of supervised release imposed by the court with all its
conditions and all other components of each respective sentence:

       Quentin C. Adams                              Reg. No. 30519-044
       Jarrett Dunn                                  Reg. No. 40843-074

        I hereby further commute the total sentence of imprisonment each of the following
named persons is now serving to a term of 360 months' imprisonment, leaving intact and in
effect for each named person the term of supervised release imposed by the court with all its
conditions and all other components of each respective sentence:

       Alfonso Allen                                 Reg. No. 76543-004
       Corey Lyndell Blount                          Reg. No. 83126-079
       Clarence Douglas Coakley                      Reg. No. 16434-056
       Larry Martin                                  Reg. No. 02614-424

        I hereby further commute the total sentence of imprisonment imposed upon Malik
Abuhamid Ibm Wakil Abdunafi, Reg. No. 13750-067, to expire on December 28, 2016. I also
remit the obligation and liability for the remaining unpaid balance the $100,000 forfeiture
judgment imposed upon the said Malik Abuhamid Ibm Wakil Abdunafi, Reg. No. 13750-067.
I leave intact and in effect the 10-year term of supervised release with all its conditions and all
other components of the sentence.

        I hereby further commute the total sentence of imprisonment imposed upon John
Franklin Banks, Reg. No. 07776-084, to a term of 292 months' imprisonment. I leave intact
and in effect the five-year term of supervised release with all its conditions and all other
components of the sentence.

        I hereby further commute the total sentence of imprisonment imposed upon Charles Lee
Brandon, Reg. No. 41876-039, to a term of 151 months' imprisonment, leaving intact and in
effect the eight-year term of supervised release imposed by the court with all its conditions and
all other components of the sentence.
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        I hereby further commute the total sentence of imprisonment imposed upon Duane
Clasen, Reg. No. 06435-029, to expire on August 15, 2017. I also remit the unpaid balance of
the $6,142.72 restitution obligation imposed upon said Duane Clasen, Reg. No. 06435-029,
leaving intact and in effect the six-year term of supervised release with all its conditions and all
other components of the sentence.

        I hereby further commute the total sentence of imprisonment imposed upon James
Dillehay, Reg. No. 51809-060, to a term of 360 months' imprisonment. I direct the Bureau of
Prisons to place said James Dillehay, Reg. No. 51809-060, on pre-release custody during the
final year of the sentence.

        I hereby further commute the total sentence of imprisonment imposed upon Antonio
Jevon Gayden, Reg. No. 10736-029, to a term of 120 months' imprisonment, leaving intact
and in effect the 10-year term of supervised release imposed by the court with all its conditions
and all other components of the sentence.

        I hereby further commute the total sentence of imprisonment imposed upon David
Gonzalez, Reg. No. 15753-179, to expire on May 31, 2017. I leave intact and in effect the 10-
year term of supervised release with all its conditions and all other components of the sentence.

        I hereby further commute the total sentence of imprisonment imposed upon Randolph S.
Gustave, Reg. No. 06911-068, to expire on May 1, 2017. I leave intact and in effect the five-
year term of supervised release with all its conditions and all other components of the sentence.

        I hereby further commute the total sentence of imprisonment imposed upon Ronnie
Lorenzo Hardy, Reg. No. 04614-017, to a term of 270 months' imprisonment. I leave intact
and in effect the 10-year term of supervised release with all its conditions and all other
components of the sentence.

        I HEREBY DESIGNATE, direct, and empower the Acting Pardon Attorney, as my
representative, to deliver to the Bureau of Prisons a certified copy of the signed warrant as
evidence of my action in order to carry into effect the terms of these grants of clemency, and to
deliver a certified copy of the signed warrant to each of the persons to whom I have granted
clemency as evidence of my action.

       IN TESTIMONY WHEREOF I have hereunto signed my name and caused the seal of
the Department of Justice to be affixed.


                                                       Done at the City of Washington this thirtieth
                                                       day of August in the year of our Lord
                                                       Two thousand and sixteen and of the
                                                       Independence of the United States the
                                                       two hundred and forty-first.




                                                          BARACK OBAMA
                                                           President
